                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

LARRY MAYS,                                     )
                                                )
              Plaintiff,                        )
                                                )
v.                                              )      No.:   3:09-CV-06
                                                )             (VARLAN/GUYTON)
TENNESSEE VALLEY AUTHORITY,                     )
                                                )
              Defendant.                        )
                                                )
                                                )
GEORGE CHESNEY, et al.,                         )
                                                )
              Plaintiffs,                       )
                                                )
v.                                              )      No.:   3:09-CV-09
                                                )             (VARLAN/GUYTON)
TENNESSEE VALLEY AUTHORITY,                     )
                                                )
              Defendant.                        )


                      MEMORANDUM OPINION AND ORDER

        This civil action is before the Court on the Report and Recommendation (the “R&R”)

[Mays v. TVA, Case No. 3:09-CV-06 (“Mays”), Doc. 123; Chesney v. TVA, Case No. 3:09-

CV-09 (“Chesney”), Doc. 307], issued by U.S. Magistrate Judge H. Bruce Guyton on January

19, 2011. The R&R considers the Mays and Chesney motions for class certification [Mays,

Doc. 110; Chesney, Doc. 242], the responses of defendant Tennessee Valley Authority

(“TVA”), the response of defendants WorleyParsons Corporation (“WorleyParsons”) and




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Geosyntec Consultants, Inc. (“Geosyntec”) [Mays, Doc. 115; Chesney, Docs. 276, 280],1

plaintiffs’ reply briefs, the parties’ respective supplemental briefs, and remarks during oral

argument before the magistrate judge on December 14, 2010. In the R&R, Magistrate Judge

Guyton recommended that plaintiffs’ motions for class certification be denied. Plaintiffs in

both cases filed timely objections to the R&R [Mays, Doc. 124; Chesney, Doc. 311]. TVA

filed responses to both objections [Mays, Doc. 125; Chesney, Doc. 313, 315]. Defendants

WorleyParsons and Geosyntec filed a response to the objections of the Chesney plaintiffs

[Chesney, Doc. 314].

        The matter is now before this Court on plaintiffs’ objections to the R&R.

I.      Background

        The facts underlying the cases involved in this litigation are familiar to the parties and

the Court and have been detailed in the R&R and in previous opinions entered in these cases.

See, e.g., Mays v. TVA, 699 F. Supp. 2d 991 (E.D. Tenn. 2010) (giving a background of

TVA’s Kingston Fossil Plant (the “KIF plant”), the December 22, 2008 coal ash spill, and

this litigation). Mays and Chesney are the only cases in this litigation seeking class

certification.

        Mays has a single plaintiff, an individual who owns and resides on property located

downstream from the KIF plant. The Mays complaint asserts a single claim against TVA for

a private nuisance—that the coal ash spill substantially interfered with his use and enjoyment


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        Defendants WorleyParsons and Geosyntec were dismissed from Chesney on March 22, 2011
by order of the Court [Chesney, Doc. 318].

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of his property [Mays, Doc. 124, p. 2]. Mays proposes a class definition based solely on

property ownership on the day of the dike failure and ash spill.2

        Chesney is a consolidated action of what was initially three separate cases, Blanchard,

et al. v. TVA, Case No. 3:09-CV-09 (“Blanchard”), Giltnane, et al. v. TVA, Case No. 3:09-

CV-14 (“Giltnane”), and Long, et al. v. TVA, et al., Case No. 3:09-CV-114. Defendants

WorleyParsons and Geosyntec, who have since been dismissed from Chesney by order of the

Court [See Chesney, Doc. 318], were initially sued only in Long [Long, Doc. 191]. In the

Long pre-consolidation complaint, the plaintiffs asserted claims for personal injury, medical

monitoring, and property damage [Id.]. The Long plaintiffs also proposed sixteen defined

classes with subclasses based on geographic boundaries [Id.]. On February 25, 2010,

plaintiffs in Blanchard, Giltnane, and Long moved to consolidate their cases [Chesney, Doc.

133]. Several Long plaintiffs moved to sever their claims from the proposed consolidated

action, but later withdrew the motion [Long, Docs. 197, 221, 228]. On July 8, 2010, the

Court granted the motions to consolidate [Chesney, Doc. 183]. On July 13, 2010, plaintiffs

filed the consolidated class action complaint (the “class action complaint”) [Chesney, Doc.

185].

        The Chesney class action complaint includes nine individual plaintiffs who assert

claims against TVA for negligence, gross negligence, nuisance, trespass, strict liability,



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        “All persons who own or owned real property abutting or adjoining either the Emory or
Clinch Rivers or TVA’s shoreline strip of property on those Rivers, downstream from the [KIF
plant] on December 22, 2008.” [Mays, Doc. 120, p. 4 n.8].

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negligence per se, and injunctive relief [Doc. 185, ¶¶ 178-217].3 The class action complaint

does not contain claims for personal injury. All Chesney plaintiffs seek monetary damages

and several Chesney plaintiffs seek the establishment of a medical monitoring fund or a

supervised medical monitoring program [Id., ¶ 2]. The Chesney plaintiffs also seek to

represent three proposed classes: two property damage classes and a resident class [Id., ¶

162].

        The Chesney plaintiffs’ motion for class certification, filed on November 15, 2010,

contains four new proposed class definitions based on property ownership and geographic

location [Chesney, Doc. 243, pp. 12-13].4 The Chesney plaintiffs also filed a proposed class

action complaint (the “proposed class action complaint”) conforming to their motion for class

certification [Chesney, Doc. 305-1]. The proposed class action complaint contains the four

new proposed class definitions and asserts claims for property damage, diminution of the

value of real estate, loss of enjoyment of real property, and loss of quality of life [Id.; see also

Docs. 242, 243]. The proposed class action complaint does not contain a claim for medical

monitoring.




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        The Chesney plaintiffs also assert claims for negligence, gross negligent, and nuisance
against defendants WorleyParsons and Geosyntec [Chesney, Doc. 318].
        4
          The Chesney plaintiffs propose four classes in the proposed class action complaint: the
Emory Waterfront Class, the Inland Class, the Central Waterfront Class, and the Southern
Waterfront Class. These classes are defined by reference to the Tennessee, Clinch, and Emory
rivers, the Watts Bar Dam, and by geographically-based boundary lines proposed by plaintiffs [See
Chesney, Doc. 243, pp. 12-13; Doc. 243-1, p. 2].

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       A.     Requirements for Class Certification

       The Mays and Chesney plaintiffs assert that their respective motions for class

certification are distinguishable. Both groups of plaintiffs, however, maintain that a class

action is the most practical and efficient mechanism for managing claims related to the dike

failure and coal ash spill. Both groups of plaintiffs also maintain that they have satisfied the

prerequisites for class certification laid out in Rule 23 of the Federal Rules of Civil

Procedure.

       The principal purpose of class actions is to achieve efficiency and economy of

litigation with respect to the parties and the courts. See Gen. Tel. Co. of Sw. v. Falcon, 457

U.S. 147, 159 (1982). The U.S. Supreme Court has observed that, as an exception to the

usual rule that litigation is conducted by and on behalf of individual named parties, “[c]lass

relief is ‘peculiarly appropriate’ when the ‘issues involved are common to the class as a

whole’ and when they ‘turn on questions of law applicable in the same manner to each

member of the class.’” Falcon, 457 U.S. at 155 (quoting Califano v. Yamasaki, 442 U.S. 682,

700-01 (1979)).

       “In determining the propriety of a class action, the question is not whether the plaintiff

or plaintiffs have stated a cause of action or will prevail on the merits, but rather whether the

requirements of Rule 23 are met.” Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 178 (1974)

(citation omitted). A court must, therefore, conduct a “rigorous analysis” into whether the

prerequisites of Rule 23 are indeed satisfied. Falcon, 457 U.S. at 161. This means that a

class is not maintainable simply because the complaint repeats the legal requirements of Rule

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23. Am. Med. Sys., Inc. (“In re AMS”), 75 F.3d 1069, 1079 (6th Cir. 1996). “‘[I]t may be

necessary for the court to probe behind the pleadings before coming to rest on the

certification question.’” In re AMS, 75 F.3d at 1079 (quoting Falcon, 457 U.S. at 160).

Moreover, the party seeking class certification bears the burden of establishing its right to

class certification. See Alkire v. Irving, 330 F.3d 802, 820 (6th Cir. 2003); Senter v. Gen.

Motors Corp., 532 F.2d 511, 522 (6th Cir. 1976), cert. denied, 429 U.S. 870 (1976). Under

Rule 23, a court has “substantial discretion in determining whether to certify a class, as it

possesses the inherent power to manage and control its own pending litigation.” Reeb v.

Ohio Dep’t of Rehab & Corr., 435 F.3d 639, 643 (6th Cir. 2006).5

       The party seeking class certification must first meet all four requirements of Rule

23(a)—numerosity, commonality, typicality, and adequacy of representation—before a class

can be certified. Fed. R. Civ. P. 23(a); In re AMS, 75 F.3d at 1079. “Once those conditions

are satisfied, the party seeking certification must also demonstrate that it falls within at least

one of the three subcategories of Rule 23(b). In re AMS, 75 F.3d at 1079 (emphasis in

original). Plaintiffs in this case have stated that they do not seek class certification based

upon the need for injunctive relief, pursuant to Rule 23(b)(2) [Chesney, Doc. 307, p. 5 n.5].




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        In the Mays objections, plaintiff argues that the magistrate judge erred in his “strict
construction” of the requirements of Rule 23(a) and that “it is generally accepted that Rule 23(a)
should be liberally construed[.]” [Mays, Doc. 124, p. 4].

        The Court does not agree, finding that the magistrate judge properly engaged in the “rigorous
analysis” demanded by the relevant law. See Reeb, 435 F.3d at 644-45 (vacating a class certification
for lack of a rigorous analysis).

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         B.     The R&R

         The R&R recommends denial of plaintiffs’ motions for class certification because

plaintiffs have not demonstrated numerosity, typicality, or adequacy of representation

[Chesney, Doc. 307, p. 13]. The R&R found that plaintiffs have not shown that these cases

meet the criteria required by Rule 23(b)(1) because plaintiffs “have not demonstrated that

prosecution of separate actions would result in inconsistent standards for the defendants or

be dispositive of the interests of non-parties” and plaintiffs have not met the criteria required

by Rule 23(b)(3) because “[t]hey have . . . failed to demonstrate that questions of law or fact

common to class members predominate over any questions affecting only individual

members.” [Id., p. 6]. According to the magistrate judge:

                A class action is not superior to other available methods for fairly and
                efficiently adjudicating these cases. The claims asserted in these cases
                are characterized by individual, not common, issues. For just
                adjudication, these claims require individualized, fact-specific inquiries
                regarding the existence, nature and extent of each plaintiff’s alleged
                damages, and the causation of that damage.

[Id.].

         Plaintiffs have objected to the magistrate judge’s findings regarding the requirements

of Rule 23(a). Plaintiffs have also objected to the magistrate judge’s finding that plaintiffs

failed to meet the criteria required by Rule 23(b)(3).6




         6
         Plaintiffs have not objected to the magistrate judge’s finding that plaintiffs failed to meet
the criteria required by Rule 23(b)(2). The Court, therefore, does not address this portion of the
R&R.

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         To the extent plaintiffs’ objections to the R&R differ and to the extent the differences

between the Mays and Chesney motions and arguments for class certification are pertinent

to their objections and the Court’s analysis, the Court will note the same. Otherwise, the

Court addresses plaintiffs’ objections together.7

II.      Standard of Review

         The Court must conduct a de novo review of those portions of the R&R to which a

party objects unless the objections are frivolous, conclusive, or general. See 28 U.S.C. §

636(b)(1); Fed. R. Civ. P. 72(b); Smith v. Detroit Fed’n of Teachers, Local 231, 829 F.2d

1370, 1373 (6th Cir. 1987); Mira v. Marshall, 806 F.2d 636, 637 (6th Cir. 1986). The Court

“may accept, reject, or modify, in whole or in part, the findings or recommendations made

by the magistrate judge.” 28 U.S.C. § 636(b)(1).




         7
        TVA and defendants WorleyParsons and Geosyntec have requested that the Court reserve
action on plaintiffs’ objections until the Court rules on TVA’s pending and potentially dispositive
motions for summary judgment. Defendants assert that deferring consideration of the objections is
appropriate given the late stage of this litigation, the comprehensive factual record, and because
defendants’ fully briefed motions could moot plaintiffs’ requests for class certification.

        After carefully considering defendants’ requests, the Court respectfully declines to defer
consideration of plaintiffs’ objections to the R&R. Defendants are correct that potentially
dispositive motions are pending in these cases. However, given this Court’s rulings on two global
dispositive motions [Chesney, Docs. 148, 319], the Court’s order dismissing defendants
WorleyParsons and Geosyntec [Chesney, Doc. 318], the extensive briefing of the class certification
issue, and the implications class certification has in this litigation—both to these cases and to the
other cases pending on the Court’s docket regarding the ash spill—the Court concludes that a
determination of the class certification issue is appropriate at this time.

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III.   Analysis

       A.      Rule 23(a)(1): Numerosity

       The magistrate judge found that plaintiffs have not satisfied the numerosity

requirement because judicial economy, the geographical dispersion of the class members, the

ease of identifying putative class members, and the practicality with which each individual

putative class member could bring suit on their own weigh against class certification. The

magistrate judge also found that plaintiffs have failed to demonstrate that the proposed class

members are “so numerous that joinder of all members [would be] impracticable.” [Chesney,

Doc. 307, p. 9 (quoting Fed. R. Civ. P. 23(a)(1))].

       Plaintiffs object to these findings and argue that the proposed classes cannot

realistically be handled through joinder. Plaintiffs assert that the proposed class definitions

encompass class sizes, particularly in environmental mass tort cases, in which the majority

of courts have found joinder to be impracticable.8 Plaintiffs argue that the relative

geographical proximity of potential claimants and the ease of identifying putative class

members, factors found by the magistrate judge to weigh against certification, do not

overcome the impracticability of joinder. Without class certification, plaintiffs argue,



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        In the Mays objections, plaintiff asserts that there is a presumption that the numerosity
requirement of Rule 23(a)(1) is met when a proposed class contains more than 35 members [Mays,
Doc. 124, p. 12 (citing In re AMS, 75 F.3d at 1076)].

        The Court, however, finds no such presumption in In re AMS or within other Sixth Circuit
law. See In re AMS, 75 F.3d at 1079 (“There is no strict numerical test for determining
impracticability of joinder . . . . Rather, ‘[t]he numerosity requirement requires examination of the
specific facts of each case and imposes no absolute limitations.’”) (citations omitted).

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putative class members may not be able to file suit on their own due to financial or personal

reasons. Plaintiffs also argue that the number of suits that have been filed under represents

the actual number of property owners interested in pursuing claims against TVA, noting that

plaintiffs’ counsel has identified “over 450 claimants on file, another 300 that have taken the

affirmative step of retaining the undersigned counsel, and countless others that have, in all

likelihood, retained other counsel or have deferred taking such steps . . . to await the class

certification order[.]” [Chesney, Doc. 311, p. 15]. In addition, plaintiffs argue that the

magistrate judge erred in finding that plaintiffs had presented no proof of barriers to filing

suit.

        Plaintiffs also contend that the magistrate judge improperly relied on Turnage v.

Norfolk S. Corp., 307 F. App’x 918 (6th Cir. 2009), in finding that plaintiffs had not satisfied

the numerosity requirement.9 Plaintiffs assert that in Turnage, the geographic proximity of

the proposed class was more pronounced and the class size was more speculative than in

these cases due to the transient nature of the harm in Turnage and the aggressive informal

compensation scheme pursued in that case.             Plaintiffs assert that these cases are

distinguishable from Turnage because of the number of plaintiffs who have already filed suit

and the number who have indicated their intent to do so. Given the number of potential

claimants, and given the size of the area and number of individuals potentially impacted by


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        Turnage involved a train derailment and subsequent chemical spill which formed a cloud
of toxins over portions of Blount and Knox County and resulted in mandatory and voluntary
evacuation orders lasting about two days and covering a three-mile area surrounding the derailment
site. Turnage, 307 F. App’x at 919.

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the spill,10 plaintiffs assert that it is not speculative to find that significant numbers of

property owners wish to pursue claims against TVA [Chesney, Doc. 311, pp. 15-16].11

       Plaintiffs’ objections regarding numerosity will be overruled because the Court agrees

that joinder in these cases is not impracticable. As noted by Judge Guyton, neither the

potential number of claimants, nor the nature of their claims—environmental tort claims

based on a single event—establish impracticability of joinder. As stated by the court in

Turnage:

               While large numbers may, in many cases, indicate impracticability of
               joinder, numbers are not a perfect predictor. Rather than naming a
               specific number, Rule 23 places the size of the class in the context of
               actual impracticability of joinder. When considering whether joinder
               would be practicable in a given case, courts may consider “ease of
               identifying members and determining addresses, ease of service on
               members if joined, [and] geographical dispersion” among other things.

307 F. App’x at 921 (citation omitted). The joinder inquiry, like that required for the entire

class certification inquiry, requires a fact-specific analysis that turns on the unique



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          The Chesney plaintiffs assert that their experts “have determined that roughly 5,000 parcels
are in the Classes.” [Chesney, Doc. 311, p. 11].
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        Plaintiffs also assert that TVA and defendants WorleyParsons and Geosyntec did not
challenge the proposed class definitions and, in effect, conceded numerosity.

         The Court disagrees. Both TVA and defendants WorleyParsons and Geosyntec challenged
plaintiffs’ class definitions by questioning plaintiffs’ evidence regarding the relationship between
the alleged coal ash contamination and the proposed class boundaries. Defendants also addressed,
in their pleadings, whether this litigation presented an impracticability of joinder [See Chesney, Doc.
280, pp. 10-15, 44-52; Doc. 301, pp. 1-3]. Further, and even if this requirement of Rule 23(a) had
not been challenged, Judge Guyton properly analyzed the numerosity requirement in undertaking
the “rigorous analysis” required to determine whether a request for class certification meets the
requirements of Rule 23.

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circumstances of each case and not on a single factor, such as the number of potential

claimants. Plaintiffs’ citations to cases finding joinder impracticable, with little or no

analysis beyond noting that the cases involve environmental torts or fewer potential

claimants, does not overcome the magistrate judge’s specific findings regarding the ease of

identifying potential claimants, the close geographical proximity of the potential claimants,

and the Court’s continuing management of these cases.

       Plaintiffs argue, as they did in their briefings before Judge Guyton, that there are a

number of properties within the proposed class definitions where coal ash may be present and

that these property owners may want to bring claims against TVA. However, beyond

providing the Court with estimates of the number of potential claimants, plaintiffs have not

shown what makes joinder impracticable given the large number of individual cases that

have been filed and are proceeding to trial, the relatively small geographic area in which

potential claimants reside or are located, the publicity surrounding the coal ash spill and this

litigation, the close proximity of this Court to the location of potential claimants, the number

of attorneys willing to take these cases, the Court’s familiarity with this litigation, the Court’s

ability to resolve broad legal questions and pre-trial and discovery issues, and the procedures

put in place for moving these cases forward and toward trial. See, e.g., Benefield v. Int’l

Paper Co., 270 F.R.D. 640 (M.D. Ala. 2010) (finding joinder not impracticable for a

proposed class of 1,500 properties when companion cases, with hundreds of joined individual




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claims, were proceeding to trial).12 In addition, plaintiffs’ averments that putative class

members may be unwilling to come forward due to fear of TVA’s power in the community

or may be unable to bring suit due to financial reasons [See Chesney, Doc. 311, p. 23; Doc.

302, pp. 7-8] is not specific evidence showing or indicating that there are indeed barriers to

filing suit that would weigh towards a finding of class certification.

        Plaintiffs have also misstated Judge Guyton’s comparison of Turnage to these cases

and have erroneously focused on the finding in Turnage that the proposed class definition

was speculative. Upon the Court’s review of the R&R, the Court finds that the R&R does

not conclude that the number of potential class members in these cases is speculative.

Rather, the R&R concludes that plaintiffs’ proof is speculative in regard to their argument

that potential claimants, beyond the hundreds who have already filed suit, would be

precluded from doing so if class certification is denied. The Court also finds this argument

regarding plaintiffs being precluded from filing suit to be somewhat incongruous with

plaintiffs’ argument that individuals who wish to file claims not brought in the proposed class

actions may opt out or pursue individual lawsuits. The Court also finds the magistrate


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         The Chesney plaintiffs also argue that these cases are distinguishable from Benefield
because in that case, the parties agreed to isolate certain claims which allowed the district court to
manage the cases despite the large number of plaintiffs. Plaintiffs assert that plaintiffs in these cases
have been unable to pursue a similar path, as evidenced by the magistrate judge’s order denying a
bellwether trial proposal [Chesney, Doc. 311, p. 11 n.6 (citing Benefield, 270 F.R.D. 640); see
Auchard, et al. v. TVA, 3:09-CV-54 (“Auchard”), Doc. 245].

        The Court, however, does not agree that this is an indication that joinder is impracticable and
notes that the Court and the parties, throughout this litigation, have both exhibited the ability to
move these cases forward and toward trial, consolidate various pre-trial issues and discovery
matters, and issue global orders.

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judge’s limited comparison of Turnage to these cases to be appropriate. The geographic

disbursement of the claimants in Turnage is similar to that presented in these cases, and the

event that gave rise to the plaintiffs’ claims in Turnage is comparable to the dike failure and

ash spill in that each was a discrete event with an alleged discernible impact on a finite

geographic area. In addition, in these cases, as in Turnage, each event was followed by

remedial measures, including purchases of affected property and clean up efforts.

       In sum, while plaintiffs argue that they have presented competent evidence that a large

number of individuals throughout the proposed classes have been affected by the ash spill

due to the presence of ash on their property, plaintiffs have not demonstrated to the Court that

joinder of these potential claimants is impracticable, or that potential claimants could not

bring suit on their own. Thus, the Court finds that the existence of these potential claimants,

even in the numbers cited by plaintiffs, does not make joinder impracticable, and plaintiffs’

objections to numerosity are hereby overruled.

       B.     Rule 23(a)(4): Adequacy of Representation

       The magistrate judge also found that plaintiffs had not satisfied the adequacy

requirement because the named class representatives have demonstrated a willingness to

abandon claims on behalf of themselves and unnamed class members by deciding not to

pursue claims for medical monitoring, emotional distress, and personal injury [Chesney, Doc.

307, pp. 10-12]. Judge Guyton found this to raise claim splitting concerns and adequacy

concerns for both the Mays and the Chesney class definitions given the diversity of

claims—the claims previously alleged by other plaintiffs in these cases, the claims initially

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alleged by the named class representatives, and the claims that may yet be asserted by

individuals wishing to file suit [Id., pp. 11-12].13         The magistrate judge found that

abandoning such claims may preclude unnamed and putative class members from bringing

claims other than those raised in the proposed class action complaint [Id.]. See Isabel v.

Velsicol Chem. Corp., No. 04-2297 DV, 2006 WL 1745053, at *7 (W.D. Tenn. June 20,

2006) (finding that where class representatives “do not share the interests of a presumptive

subset of the larger class,” and do not appear capable or ready to pursue those interests, the

proposed class does not fulfill the adequacy requirement).

       Plaintiffs argue that Judge Guyton’s concern about claim splitting is unsupported by

the law and ignores the “prevailing approach” in regard to whether plaintiffs are obligated

to pursue all possible claims in a class action. Citing cases from Pennsylvania, Ohio, Illinois,

and Oklahoma, plaintiffs argue that the magistrate judge’s reliance on Isabel, cited by the

magistrate judge in support for his concerns over claim splitting, failed to take into account

the requirements of Rule 23(a), relevant precedent, and the factual and procedural

distinctions between Isabel and these cases. Plaintiffs assert that there would be no res

judicata effect on claims not certified, and plaintiffs in both Mays and Chesney argue that



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         In regard to the proposed claims and class definitions in Chesney, Judge Guyton expressed
concern about claim splitting because there is no mention in the Chesney proposed class action
complaint of claims for medical monitoring or personal injury, despite several plaintiffs, including
named class representatives, having initially asserted such claims [Chesney, Doc. 307, pp. 10-11].
In regard to Mays, Judge Guyton found plaintiff’s sole claim for private nuisance and his class
definition based on ownership to pose similar concerns [Id., pp. 11-12]. Judge Guyton noted that
the Mays class definition and proposed claim does not address claims individual plaintiffs and
putative class members have previously asserted in the cases comprising this litigation [Id.].

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they have made a calculated and reasoned decision to only pursue claims that are appropriate

for a class action, likely to succeed, and do not require the individualized presentation of

evidence that might defeat the superiority of the class action mechanism.

       As an initial matter, the Court notes the disagreement concerning the effect of res

judicata on plaintiffs’ decisions not to bring personal injury, emotional distress, or medical

monitoring claims in the proposed class actions. The positions of TVA and of defendants

WorleyParsons and Geosyntec is that the proposed class actions may jeopardize class

members’ rights to bring such claims in subsequent suits [Chesney, Doc. 313, p. 12 n.6]. See

Isabel, 2006 WL 1745053, at *7; Cochran v. Oxy Vinyls LP, No. 3:06-CV-364-H, 2008 WL

4146383, at *10 (W.D. Ky. Sept. 2, 2008) (noting that Kentucky law would bar absent class

members from later asserting personal injury claims after the proposed class actions

representatives abandoned such claims in their request for a class action). Plaintiffs’

position, on the other hand, is that there would be no such effect. See Gates v. Rohm & Hass,

Co., 265 F.R.D. 208, 218 n.15 (E.D. Pa. 2010) (finding the risk of claim-splitting not fatal

to class certification); see id. at n.15.

       After considering these positions, the Court finds that it cannot conclusively determine

the res judicata effect of a decision yet to be handed down by this Court. Such a decision

is for the forum presented the issue if and when it arises. The Court believes that it can,

however, assess the risks of such a determination and weigh it in the Court’s consideration

of class certification. Accordingly, given the potential effect of res judicata, the application

of which may preclude subsequent litigation under certain conditions, along with the

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application of the single-injury rule, which Tennessee courts appear to follow, see Grimsley

v. Kitrrell, No. M2005-02452-COA-R3-CV, 2006 WL 2846298, at *2 (Tenn. Ct. App. Sept.

29, 2006) (discussing the application of the “single injury rule” and the effect of res judicata

where a plaintiff attempted to split property and personal injury claims), the Court finds that

whether putative class members could bring these claims in a subsequent suit is, at best,

undeterminable. See Chambers v. Colonial Pipeline Co., 296 F. Supp. 555, 558 (E.D. Tenn.

1968) (discussing, in an eminent domain case, res judicata in the context of claim splitting

and failure to assert claims which were asserted or should have been asserted in a prior

action).

       Isabel, which involved environmental tort claims for which the plaintiffs sought class

certification, raised adequacy concerns for the district court due in part to the class

representatives’ abandonment of personal injury and emotional distress claims. Isabel, 2006

WL 1745053, at *7. The Court agrees with Judge Guyton that such concerns are present in

these cases as well because individual plaintiffs, putative class members, and proposed class

representatives have previously asserted personal injury, medical monitoring, and emotional

distress claims, and the Court has no evidence that these claimants have willingly abandoned

such claims. While several cases cited by plaintiffs find the practical risks of claim splitting

to be minimal, the facts of those cases are distinguishable from these cases. Unlike these

cases, the cases cited by plaintiffs do not indicate that a significant number of putative class

members (including several named class representatives) had previously filed cases asserting

claims now abandoned in the proposed class action complaints and engaged in discovery and

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pretrial briefing regarding those claims. In addition, in Gates, cited by plaintiffs, the district

court noted that “it appears that the vast majority of absent class members do not have

present physical injuries and that individuals who wished to pursue claims not certified for

class action could always exercise their right to sue individually or opt out of the class.” 265

F.R.D. at 218. The Court cannot make this same determination regarding the personal injury,

emotional distress, or medical monitoring claims of potential claimants in these cases. In

addition, while the individual suit and opt out options noted in Gates are equally applicable

to these cases, the pursuit of these options detracts from plaintiffs’ argument that a class

action is the superior mechanism for handling claims relating to the ash spill.

       In addition, the Court notes that plaintiffs have not disputed Judge Guyton’s

description of their proposed claims and what each encompasses, nor do plaintiffs dispute

the magistrate judge’s description of the evolution of the proposed class action claims in

Chesney, or the magistrate judge’s observations that other plaintiffs have brought claims and

sought damages for claims apart from those proposed in the Mays and the Chesney plaintiffs’

motions for class certification [See, e.g., Auchard, et al. v. TVA, 3:09-CV-54 (“Auchard”),

Doc. 203-6, pp. 1-4 (listing the Auchard plaintiffs’ computations for pain and suffering

damages, emotional distress damages, and loss of spousal consortium damages)]. Plaintiffs

argue that they are not obligated to pursue all possible claims and that they have made

strategic decisions to pursue only the claims likely to succeed. While this may be true, such

strategic decisions do not obviate the magistrate judge’s finding that claims once asserted by

a number of individual plaintiffs have now been abandoned in the motions for class

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certification. Further, the Court has no indication that such claims have been willingly

abandoned. Given the requirement of Rule 23(a)(4) that the representative parties “fairly and

adequately represent the interests of the class[,]” Fed. R. Civ. P. 23(a)(4), and given

individual plaintiffs’ prior assertions of these claims, the Court is not satisfied that the

proposed representatives in Mays or Chesney adequately represent the interests of putative

class members.

       Last, the Court questions whether the named class representatives will vigorously

prosecute the interests of the proposed classes. In TVA’s response to plaintiffs’ objections,

TVA points out that several proposed Chesney class representatives and the proposed class

representative in Mays have not spoken with other class representatives or their neighbors

regarding the class action proposals, and have not been involved in the investigation of other

properties within their respective classes [Chesney, Doc. 313, pp. 13-14 (citing depositions

of proposed class representatives); Mays, Doc. 125, pp. 11-12 (citing the deposition of

plaintiff in Mays)]. Such languid pursuit of the proposed class actions does little to convince

the Court of the vigorous representation of the interests of the proposed classes by the named

class representatives.




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       On balance, and after weighing all of the above considerations, the Court agrees with

Judge Guyton’s determination that plaintiffs have not satisfied the adequacy requirement.

Plaintiffs’ objections to adequacy are therefore overruled.

       C.     Rule 23(a)(2) & (a)(3): Commonality and Typicality

       Magistrate Judge Guyton addressed the commonality and typicality requirements

together because “the ‘commonality and typicality requirements of Rule 23(a) tend to

merge.’” Ball v. Union Carbide Corp., 385 F.3d 713, 728 (6th Cir. 2004) (quoting

Rutherford v. City of Cleveland, 137 F.3d 905, 909 (6th Cir. 1998)). The magistrate judge

found that the claimants and claims in Mays and Chesney are not sufficiently typical because

the claims pursued by individual plaintiffs and putative class members and the claims of the

named class representatives are insufficiently aligned [Chesney, Doc. 307, p. 13]. The

magistrate judge also found insufficient alignment between the claims of the named class

representatives and the claims these same plaintiffs initially pursued [Id.].

       Plaintiffs object, arguing that their claims are typical of the classes and that the

magistrate judge disregarded Sterling v. Velsicol Chemical Corp., in which the Sixth Circuit

noted that typicality is satisfied “where the defendant’s liability can be determined on a class-

wide basis because the cause of the disaster is a single course of conduct which is identical

for each of the plaintiffs, [and] a class action may be the best suited vehicle to resolve such




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a controversy.” 855 F.2d 1188, 1197 (6th Cir. 1988).14 Plaintiffs argue that this is the

situation here because all class members’ claims arise out of the dike failure and ash spill,

the interests of the class representatives and the putative class members are aligned, and all

class members share the same experience. Plaintiffs argue that it is of no moment that they

have elected not to pursue certain claims as a class because their pursuit of property damage

and nuisance claims “align[s] perfectly with the property damage and nuisance claims” of

putative class members [Chesney, Doc. 311, p. 22]. Plaintiffs also assert that to the extent

individual class members wish to pursue other claims such as personal injury or medical

monitoring claims, those individuals are free to opt out of the class action or sue individually.

Plaintiffs argue that such actions would not detract from the principal harm caused by TVA

and the claims for which plaintiffs have requested certification.

       In light of what has occurred in these cases since the R&R was issued and the

objections filed—specifically, the dismissal of defendants WorleyParsons and

Geosyntec—the Court notes that the magistrate judge’s finding that plaintiffs have not



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         In the Mays objections, plaintiff argues that the magistrate judge disregarded the
“presumption” in Sterling that a class should be certified when claims arise from the same event or
practice or course of conduct that gave rise to the claims of the other class members [Mays, Doc.
124, p. 14].

        The Court, however, does not read Sterling to state such a presumption—the Sixth Circuit’s
statement in Sterling is that “a class action may be the best suited vehicle[,]” not that there is a
presumption of class certification in such a situation. Sterling, 855 F.2d at 1197 (emphasis added).
Sterling supports what the Court has previously noted, that a class action determination is to be
made after a rigorous analysis and a careful inquiry into the specific facts of a particular case. Id.
(“The district court retains broad discretion . . . and its decision, based upon the particular facts of
the case of the case, should not be overturned absent a showing of abuse of discretion.”).

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satisfied the typicality requirement was not premised solely on the existence of multiple

defendants. Rather, the magistrate judge also relied upon the various types of claims and the

distinct types of evidence and theories of causation required for proving plaintiffs’ claims

[Chesney, Doc. 307, p. 13].

       Thus, the Court has taken the dismissal of defendants WorleyParsons and Geosyntec

into consideration and concludes, even with the dismissal of these defendants, that the

magistrate judge appropriately determined that plaintiffs’ claims are not sufficiently typical.

Plaintiffs’ interests are insufficiently aligned because the proposed class representatives

assert claims different from the claims pursued by individual plaintiffs and potential claims

members [see Chesney, Doc. 280, pp. 38-40].15 More importantly, plaintiffs’ claims are not

typical because the analysis and ultimate determination of each plaintiff’s claim will turn

primarily on individualized inquiries into how the coal ash affected each plaintiff’s specific


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         In TVA’s reply brief to the Chesney plaintiffs’ motion for class certification, TVA noted
the variety of claims asserted in this litigation:

               For instance, some putative members of the proposed Inland Class want to pursue
               claims for personal injury (e.g., Auchard plaintiff Alexic Bryson), medical
               monitoring (e.g., Auchard plaintiff Richard Snow), emotional distress (e.g., Smith
               plaintiff Julia Kyker, and/or inverse condemnation (e.g., Scofield plaintiffs Craig and
               Holly Hurley). . . . The same desire holds true for putative class members living in
               the other three proposed class areas. Indeed, even named Plaintiffs Chesney,
               Maines, Cordell, and Simon filed their lawsuit as a proposed medical monitoring
               class action, and confirmed their desire for medical monitoring at their recent
               depositions. Plaintiff Burnum similarly testified at deposition that she wanted
               medical monitoring for her family.

[Chesney Doc. 280, pp. 39-40].



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property interest. Given the unique location of each plaintiff’s individual property, and the

unique situation of each plaintiff and his or her use and enjoyment of the property,

individualized inquiries will apply to both the property damage and the nuisance claims.

There is no “typical” proof for how coal ash came to be on each unique piece of property,

no “typical” proof for whether the coal ash affected or damaged each property, and no

“typical” proof for how each individual property owner used or enjoyed his or her property.

As noted in In re AMS, when a common cause of injury cannot be taken as a given, “the

factual and legal issues do differ dramatically from individual to individual.” 75 F.3d at 1084

(reversing a Rule 23(b)(3) class certification in actions involving claims of liability for

defective medical device products, since “no single proximate cause applies equally to each

potential class member”). In these cases, while there may be common causes of the dike

failure, the questions of specific, proximate causation and damages are individual inquiries,

and the Court agrees with the magistrate judge that such inquiries will predominate.

       While plaintiffs point to the individual suit or opt-out mechanisms to cure any issue

that may arise when individuals wish to pursue claims or “marginal theories” not brought as

a class, the Court finds that these mechanisms would not solve the problems identified by

Judge Guyton and noted above in regard to the individualized forms of causation and proof

required for plaintiffs’ claims for which they are seeking class certification. Moreover, the

Court does not find a situation in which individual claimants pursuing separate suits, either

in addition to claims brought in the proposed class action or in suits pursued by plaintiffs



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with no part in the class action, weigh in favor of plaintiffs’ argument that a class action is

the superior mechanism for purposes of judicial economy and efficiency.

       Accordingly, plaintiffs’ objections to commonality and typicality are hereby

overruled.

       D.      Rule 23(b)(3): Predominance and Superiority

       Judge Guyton also found that individualized questions in these cases predominate over

common issues. The magistrate judge noted that even the threshold questions of class

membership for the Mays and Chesney proposed class definitions will require the Court’s

consideration of individualized factors and demand an individualized inquiry into specific

property interests [Chesney, Doc. 307, p. 15]. Judge Guyton noted that the viability of each

plaintiff’s claim—including whether there was coal ash present on a specific property, the

amount of coal ash on the property, the source of the coal ash and what caused it to be on the

property, the extent to which the ash may or may not have caused the property to decrease

in value, and the amount of damages owed to each individual plaintiff—will require

individualized inquiries which will predominate over questions of law or fact common to all

class members [Id., pp. 15-17]. The magistrate judge also found that a class action was not

the superior mechanism to resolve the claims relating to the ash spill because this Court has

demonstrated the ability to adjudicate significant preliminary issues, resolved complicated

issues through the entry of global orders, and implemented procedures for efficient case

preparation.



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       Plaintiffs object, arguing that liability determinations and defendants’ course of

conduct leading up to the dike failure and ash spill are common issues which predominate

over the individualized questions noted by the magistrate judge. Plaintiffs assert that their

claims involve a common causation inquiry and seek common forms of harm which will

require common forms of proof. Plaintiffs argue that the magistrate judge’s determination

misapprehends the Rule 23(b)(3) inquiry because it requires that all plaintiffs suffer identical

harm even when individualized damages could be adequately determined by a mass damage

appraisal or in later individualized proceedings without affecting the common, class-wide

liability determinations made through a class action mechanism. Plaintiffs urge the Court

to consider the statements pertaining to class certification in Olden v. LaFarge Corp., 383

F.3d 495 (6th Cir. 2004), and in Sterling, and to find that Benefield, cited favorably by the

magistrate judge, is distinguishable. Last, plaintiffs argue that the magistrate judge made

impermissible merits determinations throughout the R&R, such as when he stated that

property ownership alone does not entail a legal claim against TVA because the presence of

coal ash is not determinative of class members’ right to recover.

       The Court agrees with the magistrate judge that individualized questions will

predominate over the common issues in this litigation. Many of the common issues

identified by plaintiffs—issues dealing with proof of past conduct by TVA and others and

issues regarding design, construction, and operations at the KIF plant—have been previously

determined and narrowed in the Court’s orders on the application of the discretionary

function doctrine [Chesney, Doc. 148] and the nondiscretionary conduct issue [Chesney, Doc.

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319]. These orders also dealt with issues of causation common to all plaintiffs. Indeed,

while several common issues have yet to be determined, including those addressed in TVA’s

pending motion for summary judgment and whether specific nondiscretionary conduct by

TVA caused the dike failure, individualized inquiries remain. Moreover, the Court agrees

with Judge Guyton that these individualized inquiries, such as whether coal ash is or was

present on specific property, the proximate causation inquiry as to whether nondiscretionary

conduct for which TVA can be sued caused coal ash to be present on a specific property, how

each plaintiff’s property interest and use and enjoyment of property has been impacted by

the coal ash, and the extent of each plaintiff’s damages, will predominate.16

       Plaintiffs argue that Benefield is distinguishable because plaintiffs have focused

exclusively on the diminution in value of the affected properties and because their claims

arise from common forms of harm, while plaintiffs in Benefield sought other categories of

damages not contemplated by the plaintiffs’ proposed mass appraisal analysis. Plaintiffs also

argue that the proposed classes in Benefield required the district court to make improper

individualized merits determinations as to whether a particular individual met the class

definition.

       Plaintiffs have misconstrued the magistrate judge’s comparison of Benefield to these

cases. Judge Guyton did not focus on Benefield’s discussion of the categories of damages

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          As TVA points out in its response to the Chesney plaintiffs’ objections, these common
issues of causation may be narrowed or resolved prior to any trial, may be resolved in a consolidated
trial, or may be resolved in the first case set for trial [Chesney, Doc. 313, pp. 18-19]. The Court
agrees, and finds that similar procedures of the type identified by TVA will properly address
plaintiffs’ concern about unjust or inefficient repetition.

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sought by the plaintiffs or the initial, individualized merits determinations the district court

found necessary to determine whether an individual claimant would fall within a proposed

class (although, as previously noted, the magistrate judge found this too was a problem with

plaintiffs’ proposed class definitions). Rather, in comparing these cases to Benefield, Judge

Guyton noted the district court’s observation that by presenting evidence that property in the

contaminated area has been damaged and can be damaged, such “does not purport to

establish on a class-wide basis that all residential property owners in the class area suffered

injury to property.” 270 F.R.D. at 651. The district court noted that the plaintiffs had

provided evidence that contaminated substances released by the defendant could cause

property damage and did in fact cause property damages to some class members. Id. The

district court noted, however, that even in light of this evidence, “individualized

determinations will have to be made of whether each class member has suffered injury and

whether that injury was proximately caused by the Defendant’s actions.” Id. Given the

Court’s previous rulings and the nature of plaintiffs’ claims, the Court agrees with Judge

Guyton that such individualized inquiries—how the coal ash got onto a specific property, the

extent to which a specific property has been damaged, and the effect of the coal ash on the

value of the property and the plaintiff’s use and enjoyment of said property—are the

predominate issues yet to be determined.

       The Court also disagrees with plaintiffs’ contention that Judge Guyton ignored Sixth

Circuit precedent in Olden and Sterling in regard to environmental cases seeking class action

when the claims at issue arise from a single event or course of conduct [See, e.g., Chesney,

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Doc. 307, pp. 35-36]. Closer scrutiny of the cases cited by plaintiffs indicates that these

cases do not dictate a particular outcome and that the language of the cases is permissive

rather than mandatory. Olden suggests that certification is within the discretion of the district

court when the existence of common questions “would likely allow the court to determine

liability (including causation) for the class as a whole.” 383 F.3d at 508. As noted above,

Judge Guyton determined that while common issues of causation do exist in these cases,

these common issues do not predominate over the individual issues of causation. The Sixth

Circuit pointed out in Sterling that when “no single proximate cause equally applies to each

potential class member and each defendant, and individual issues outnumber common issues,

the district court should properly question the appropriateness of a class action for resolving

the controversy.” 855 F.2d at 1197. Here, common issues of causation, such as what

nondiscretionary conduct by TVA, if any, caused the dike failure and ash spill, do not

predominate over the individualized issues of whether coal ash is or was present on each

specific property, whether the presence of the coal ash on the specific property can be traced

to TVA’s nondiscretionary conduct, whether the coal ash has damaged each specific

property, whether and how the coal ash affects the property owner’s use and enjoyment of

said property, and the amount of damages, if any, to each property and to each plaintiff.

       The Court is aware that “if liability is found, the issue of damages can be decided by

a special master or by another method.” Olden, 383 F.3d at 509. The Court, however, is of

the opinion that an individualized determination of damages is not the only individualized

inquiry that will be required. Plaintiffs’ proposed solutions of a mass damages appraisal or

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individualized damages proceedings would not resolve the individualized issues dealing with

specific proximate causation and whether each individual plaintiff and his or her specific

property and interest in property was harmed by TVA’s nondiscretionary conduct.

       Plaintiffs have also argued that the magistrate judge made improper evaluations and

determinations on the merits of plaintiffs’ existing and potential claims. The Court disagrees.

The magistrate judge’s analysis of class certification required a rigorous analysis of the

requirements of Rule 23, and as both the Supreme Court and the Sixth Circuit have observed,

such an analysis may make it necessary for a court to probe behind the pleadings. See Sher

v. Raytheon Co., No. 09-15798, 2011 WL 814379, at *2 (11th Cir. Mar. 9. 2011) (“Although

the trial court should not determine the merits of the plaintiffs’ claim at the class certification

stage, the trial court can and should consider the merits of the case to the degree necessary

to determine whether the requirements of Rule 23 will be satisfied.”) (citation omitted)

(vacating and remanding the district court’s order certifying a class in a case alleging

environmental contamination); Coopers & Lybrand v. Livesay, 437 U.S. 463, 469 (1978)

(“[C]lass determination generally involves considerations that are ‘enmeshed in the factual

and legal issues comprising the plaintiff’s cause of action.’”); id. at n.12 (“‘The more

complex determinations required in Rule 23(b)(3) class actions entail even greater

entanglement with the merits.’”) (citations omitted). In light of the foregoing, the Court finds

that Judge Guyton properly considered the nature of plaintiffs’ existing claims and the nature

of what individual plaintiffs and putative class members have claimed in this litigation, in

addition to the relevant factual and legal issues and the evidence and theories necessary to

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establish those claims. The magistrate judge did not judge plaintiffs’ claims on their merits,

but properly noted the common and individual issues that may arise by virtue of the types of

claims asserted, and how such claims relate to inquiries of causation, proof, and damages.

The Court does not find the magistrate judge’s careful consideration of these issues to be

erroneous or improper.

       The Court also agrees with the magistrate judge that a class action is not the superior

mechanism for handling the claims arising out of the coal ash spill. There is no danger of

related cases being filed in other venues because all cases involving the ash spill will be filed

in this Court due to venue requirements and TVA’s status as a federal agency. In addition,

in the more than two years since these actions were filed, this Court has established efficient

procedures for handling the complicated issues presented, including entering global orders

on scheduling, discovery, and potentially dispositive legal issues, and these procedures have

succeeded in efficiently moving these cases forward. See Cochran, 2008 WL 4146383, at

*11 (“Rule 23(b)(3) classes . . . must satisfy a two-part test of commonality and superiority,

and should only be certified if doing so would ‘achieve economies of time, effort, and

expense.’”) (quoting Sterling, 855 F.2d 1196). The Court also has no evidence of a shortage

of attorneys willing to take these cases and no concrete evidence of barriers potential

claimants have to filing suits. Finally, and even if the Court adopted plaintiffs’ class action

proposals in toto, the Court may still be faced with a number of individual lawsuits and must

then devise procedures for the efficient adjudication of the claims of those individuals who

chose to opt out of the class action.

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      In sum, plaintiffs’ objections to predominance and superiority are hereby overruled.

IV.   Conclusion

      For the reasons stated above, plaintiffs’ objections to the R&R [Mays, Doc. 124;

Chesney, Doc. 311] are hereby OVERRULED, Magistrate Judge Guyton’s R&R [Mays,

Doc. 123; Chesney Doc. 307] is ACCEPTED IN WHOLE, and plaintiffs’ motions for class

certification [Mays, Doc. 110; Chesney, Doc. 242] are DENIED.

      IT IS SO ORDERED.



                                        s/ Thomas A. Varlan
                                        UNITED STATES DISTRICT JUDGE




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